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 8
                                   UNITED STATES DISTRICT COURT
 9
                                NORTHERN DISTRICT OF CALIFORNIA
10

11 IN RE: REQUEST FOR INTERNATIONAL          )   MISC. NO. 25-MC-80059
   JUDICIAL ASSISTANCE FROM THE              )
12 NATIONAL COURT OF FIRST INSTANCE          )
   OF LABOR NO. 5 IN BUENOS AIRES,           )   MEMORANDUM IN SUPPORT OF EX PARTE
13 ARGENTINA IN CARMEN VERONICA              )   APPLICATION FOR ORDER PURSUANT TO 28
   MAXIOTTA V. MATIZ S.A.                    )   U.S.C. § 1782
14                                           )
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     MEMORANDUM IN SUPPORT OF EX PARTE APPLICATION FOR ORDER PURSUANT TO 28 U.S.C. § 1782
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 1          The United States of America, by its counsel, Patrick D. Robbins, Acting United States Attorney

 2 for the Northern District of California, and Molly A. Friend, Assistant United States Attorney, submits

 3 this Memorandum of Law in support of the Ex Parte Application for an Order, 1 pursuant to 28 U.S.C.

 4 § 1782, to execute a Letter of Request from judicial authorities in Buenos Aires, Argentina for

 5 international judicial assistance to obtain certain information and documents from Google, LLC

 6 (“Google”).

 7                                             INTRODUCTION

 8          The request for international judicial assistance comes from the National Court of First Instance

 9 of Labor No. 5 in Buenos Aires, Argentina (the “Argentine Court”). Specifically, the Court has issued a
10 Letter of Request requesting judicial assistance to obtain information for use in the case captioned

11 Carmen Veronica Maxiotta v. Matiz S.A., Foreign Reference Number 53799/2021. See Declaration of

12 Assistant United States Attorney Molly A. Friend, Exhibit 1 (Letter of Request) (“Friend Decl.”). The

13 Letter of Request indicates that the matter is a civil labor dispute.

14          To make its determination, the Argentine Court is requesting information regarding the User ID,
15 name and surname, date and time of creation of the account and closing of the account, phone number,

16 personal data reported on the account, registrations, name, address, service information, network

17 address, and source of payment for the Gmail account mardescalzo478@gmail.com.

18          The Argentine Court’s request was transmitted to the U.S. Department of Justice, Civil Division,

19 Office of Foreign Litigation, Office of International Judicial Assistance in Washington D.C. pursuant to

20

21

22          1 Gushlak v. Gushlak, 486 F. App’x 215, 217 (2d Cir. 2012) (“It is neither uncommon nor
   improper for district courts to grant applications made pursuant to § 1782 ex parte. The respondent’s due
23 process rights are not violated because he can later challenge any discovery request by moving to quash
   pursuant to Federal Rule of Civil Procedure 45[(d)](3).”); see also In re Letters Rogatory from Tokyo
24 Dist., Tokyo, Japan, 539 F.2d 1216, 1219 (9th Cir. 1976) (“Letters Rogatory are customarily received
   and appropriate action taken with respect thereto ex parte. The witnesses can and have raised objections
25 and exercised their due process rights by motions to quash the subpoenas.”); In re Letter of Request from
   Supreme Ct. of Hong Kong, 138 F.R.D. 27, 32 n.6 (S.D.N.Y. 1991) (same); In re Application of Masters
26 for an Order Pursuant to 28 U.S.C. § 1782 to Conduct Discovery for Use in a Foreign Proceeding, 315
   F. Supp. 3d 269, 272 (D.D.C. 2018) (presenting application under Section 1782 ex parte). While these
27 applications are generally filed ex parte, they do not need to be filed under seal. See, e.g., In re Mutual
   Assistance of Local Court of Wetzlar, Germany, 1:17-mc-00078-SKO, 2018 WL 306678, at *3 (E.D.
28 Cal. Jan. 5, 2018) (order denying motion to seal U.S.’s application for ex parte order appointing
   commissioner pursuant to 28 U.S.C. § 1782).
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 1 the Hague Convention on the Taking of Evidence Abroad in Civil or Commercial Matters, Mar. 18,

 2 1970, 23 U.S.T. 2555, 847 U.N.T.S. 12140 [hereinafter Hague Evidence Convention].

 3          The request was then transmitted to the U.S. Attorney’s Office for the execution in accordance

 4 with 28 C.F.R. § 0.49(c). To execute these requests for international judicial assistance, authority must

 5 be obtained from this Court. 28 U.S.C. § 1782.

 6            ATTEMPTS TO OBTAIN THE REQUESTED INFORMATION AND META’S

 7                                             COOPERATION

 8          On or about October 23, 2024, the U.S. Attorney’s Office first wrote to counsel for Google about

 9 the Argentine Court’s request for international judicial assistance. See Friend Decl. ¶ 3. The U.S.
10 Attorney’s Office followed up with correspondence to Google directly on January 21, 2025. Id. at ¶ 3.

11 Google requested that a subpoena be issued under 28 U.S.C. § 1782. Id. ¶ 3. Google does not object to

12 the entry of the accompanying Proposed Order as drafted which provides for a subpoena and allows

13 Google to provide notice to the affected user(s). Id. Google reserves all rights and objections in

14 responding to the underlying subpoena. After it receives the subpoena, provides notice to the affected

15 user(s), and any objections by Google or from the affected user(s) are asserted and fully adjudicated in

16 favor of production, Google is willing to provide the requested information to the U.S. Attorney’s

17 Office, to the extent it exists, provided that the District Court appoints Assistant United States Attorney

18 Molly Friend as Commissioner to issue a United States federal court subpoena for the information. Id.

19                                                ARGUMENT

20          I.      THE HAGUE EVIDENCE CONVENTION

21          The Hague Evidence Convention affords each signatory nation the use of the judicial process of

22 other signatory nations, where such assistance is needed in civil or commercial matters, “to facilitate the

23 transmission and execution of Letters of Request and to further the accommodation of the different

24 methods which they use for this purpose.” Hague Evidence Convention pmbl. The Hague Evidence

25 Convention “prescribes certain procedures by which a judicial authority in one contracting state may

26 request evidence located in another contracting state.” Société Nationale Industrielle Aérospatiale v.

27 U.S. Dist. Court for the S. Dist. of Iowa, 482 U.S. 522, 524 (1987). The Hague Evidence Convention is

28 in force in both the United States and the Argentine Republic. Hague Conference on Private

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 1 International Law, Status Table for the Convention of 18 March 1970 on the Taking of Evidence Abroad

 2 in Civil or Commercial Matters, available at https://www.hcch.net/en/instruments/conventions/status-

 3 table/?cid=82 (last visited Mar. 17, 2022) (The Hague Evidence Convention entered into force in

 4 Argentina on or around August 7, 1987).

 5          Article 10 of the Hague Evidence Convention provides that:

 6                 In executing a Letter of Request the requested authority shall apply the
                   appropriate measures of compulsion in the instances and to the same
 7                 extent as are provided by its internal law for the execution of orders issued
                   by the authorities of its own country or of requests made by parties in
 8                 internal proceedings.

 9 Hague Evidence Convention, art. 10.
10          Furthermore, Article 9 of the Hague Evidence Convention provides, in pertinent part, that: “the
11 judicial authority which executes a Letter of Request shall apply its own law as to the methods and

12 procedures to be followed, and that a ‘Letter of Request shall be executed expeditiously.’” Id. at art. 9.

13          Under Article VI of the United States Constitution, treaties, such as the Hague Evidence
14 Convention, are the law of the land, on an equal footing with acts of Congress, and are binding on the

15 courts. See Bell v. Clark, 437 F.2d 200, 203 (4th Cir. 1971); see also Gandara v. Bennett, 528 F.3d 823,

16 830 (11th Cir. 2008) (stating that self-executing treaties are “immediately and directly binding on state

17 and federal courts pursuant to the Supremacy Clause.”) (Roders, J., concurring); Bishop v. Reno, 210

18 F.3d 1295, 1299 (11th Cir. 2000) (concluding that “an Act of Congress” is on “full parity with a

19 treaty.”).

20          II.    STATUTORY CONSIDERATIONS WEIGH IN FAVOR OF GRANTING THE
                   UNITED STATES’ APPLICATION
21
            The authority for this Court to assist foreign tribunals in obtaining testimony is contained in 28
22
     U.S.C. § 1782. This section states:
23
                   Assistance to foreign and international tribunals and to litigants before such
24                 tribunals
25                 (a) The district court of the district in which a person resides or is found
                       may order him to give his testimony or statement or to produce a
26                     document or other thing for use in a proceeding in a foreign or
                       international tribunal, including criminal investigations conducted
27                     before formal accusation. The order may be made pursuant to a letter
                       rogatory issued, or request made, by a foreign or international tribunal
28                     or upon the application of any interested person and may direct that the
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 1                      testimony or statement be given, or the document or other thing be
                        produced, before a person appointed by the court. By virtue of his
 2                      appointment, the person appointed has power to administer any
                        necessary oath and take the testimony or statement. The order may
 3                      prescribe the practice and procedure, which may be in whole or part the
                        practice and procedure of the foreign country or the international
 4                      tribunal, for taking the testimony or statement or producing the
                        document or other thing. To the extent that the order does not prescribe
 5                      otherwise, the testimony or statement shall be taken, and the document
                        or other thing produced, in accordance with the Federal Rules of Civil
 6                      Procedure.

 7 28 U.S.C. § 1782(a); see also Aérospatiale, 482 U.S. at 529 (providing a brief history of the Hague

 8 Evidence Convention).

 9          Section 1782 “is the product of congressional efforts, over the span of 150 years, to provide
10 federal-court assistance in gathering evidence for use in foreign tribunals.” Intel Corp. v. Advanced

11 Micro Devices, Inc., 542 U.S. 241, 247 (2004). By this law, Congress intended that the United States set

12 an example to other nations by making judicial assistance generously available. See, e.g., In re Request

13 for Assistance from Ministry of Legal Affairs of Trin. & Tobago, 848 F.2d 1151, 1153-54 (11th Cir.

14 1988). District courts have repeatedly appointed Assistant United States Attorneys to act as

15 commissioners pursuant to this provision for the purpose of rendering judicial assistance to foreign

16 courts in response to a request for assistance. In re Clerici, 481 F.3d 1324, 1327 (11th Cir. 2007)

17 (affirming a district court’s appointment of an Assistant United States Attorney to obtain sworn answers

18 to questions posed in letters rogatory).

19          This Court is authorized to provide assistance to the Argentine Court if the three requirements set

20 forth in § 1782 are met. Those requirements are: (1) the person or document for which discovery is

21 sought resides or is found in the district; (2) the discovery is for use in a proceeding before a foreign or

22 international tribunal; and (3) the application is made “by a foreign or international tribunal” or “any

23 interested person.” In re: Application Pursuant to 28 U.S.C. § 1782 for an Order Permitting Bayer AG

24 to Take Discovery, 146 F.3d 188, 193 (3d Cir. 1988); Schmitz v. Bernstein Liebhard & Lifshitz, LLP,

25 376 F.3d 79, 83 (2d Cir. 2004); see also S. Rep. No. 88-1580 at 2 (1964), reprinted in 1964

26 U.S.C.C.A.N. 3783 (providing Congress’ general statement regarding the purpose behind the statute);

27 Intel, 542 U.S. at 248-49 (providing a brief history of Section 1782 and federal court aid to foreign

28 tribunals).

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 1          Here, each of these threshold statutory requirements is met. First, Google “resides or is found in”

 2 the Northern District of California, because Google’s corporate offices or headquarters are in Mountain

 3 View, California. Second, the Letter of Request explains that the information sought is for use in a

 4 proceeding before a foreign tribunal as such information is in regard to a witness in an Argentine

 5 proceeding. Third, the Letter of Request itself also reflects that it is made by a foreign or international

 6 tribunal. Id.

 7          III.    DISCRETIONARY CONSIDERATIONS WEIGH IN FAVOR OF GRANTING
                    THE UNITED STATES’ APPLICATION
 8
            “[A] district court is not required to grant a § 1782(a) discovery application simply because it has
 9
     the authority to do so.” See Intel, 542 U.S. at 264. Indeed, § 1782 “affords the district courts ‘wide
10
     discretion’ in responding to requests for assistance in proceedings before foreign tribunals.” Al Fayed v.
11
     United States, 210 F.3d 421, 424 (4th Cir. 2000). 2
12
            The Supreme Court has set forth certain discretionary factors for a district court to consider
13
     before granting a request for judicial assistance:
14
                    (1) whether the person from whom discovery is sought is a participant in
15                  the foreign proceeding; (2) the nature of the foreign tribunal, the character
                    of the foreign proceedings, and the receptivity of the foreign entity to
16                  judicial assistance; (3) whether the request conceals an attempt to
                    circumvent foreign proof-gathering restrictions or other policies of a
17                  foreign country or the United States; and (4) whether the requested
                    information is unduly intrusive or burdensome.
18
     Intel, 542 U.S. at 264-65.
19
            “In exercising its discretion under § 1782, the district court should be guided by the statute’s
20
     twin aims of providing efficient means of assistance to participants in international litigation in our
21
     federal courts and encouraging foreign countries by example to provide similar means of assistance to
22
     our courts.’” Al Fayed, 210 F.3d at 424; see also United States v. Morris (In re Letter of Request from
23

24

25   2 In re Application for an Order Permitting Metallgesekkschaft AG to take Discovery, 121 F.3d 77 (2nd
   Cir. 1997) (“[T]hrough §1782 Congress has seen fit to authorize discovery which, in some cases, would
26 not be available in foreign jurisdictions, as a means of improving assistance by our courts to participants
   in international litigation and encouraging foreign countries by example to provide similar means of
27 assistance to our courts…. If district courts were free to refuse discovery based on its unavailability in a
   foreign court or because the foreign court had not first passed on the discoverability of the materials
28 sought, § 1782 would be irrelevant to much international litigation, frustrating its underlying
   purposes.”).
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 1 Amtsgericht Ingolstadt, Fed. Republic of Ger.), 82 F.3d 590, 592 (4th Cir. 1996) (“Plainly, the . . .

 2 statute envision[s] considerable cooperation with foreign courts’ requests for assistance and a general

 3 practice of reciprocity.”). Here again, each of these discretionary factors weigh in favor of assisting the

 4 Argentine Court.

 5          With respect to the first factor, “although this factor was originally expressed as a ‘participant’

 6 versus ‘nonparticipant’ analysis under the facts presented in Intel, the true question at hand is whether

 7 the requested discovery is available to the foreign tribunal without the assistance of this Court.” In re

 8 Request for Judicial Assistance from the Dist. Court in Svitavy, Czech, 748 F. Supp. 2d 522, 526 (E.D.

 9 Va. 2010) [hereinafter In re Svitavy]; see also Intel, 542 U.S. at 264 (“[N]onparticipants in the foreign
10 proceeding may be outside the foreign tribunal’s jurisdictional reach; hence, their evidence, available in

11 the United States, may be unobtainable absent § 1782(a) aid.”).

12          Google is not a party to the proceedings and is not subject to the Argentine Court’s jurisdiction
13 because it is located in California; thus, the first factor weighs in favor of granting the Application.

14          Second, there is nothing in the Letter of Request to suggest that this Court should decline to grant
15 the Application based on the nature of the Argentine Court or the character of the proceedings.

16          Additionally, this request was initiated by the Argentine Court and not by an independent party;
17 therefore, the Argentine Court is clearly receptive to the assistance of this Court and the second factor

18 weighs in favor of granting the motion. See In re Svitavy, 748 F. Supp. 2d at 527. In re Application of

19 Grupo Qumma, No. M 8-85, 2005 WL 937486 (S.D.N.Y. Apr. 22, 2005) (granting 1782 application,

20 holding that ambiguity about whether the discovery would be permitted in Mexican court is not a

21 relevant factor in determining whether to grant a § 1782 request as that would require federal judges to

22 apply foreign law concepts).

23          With respect to the third factor, because the requester is the Argentine Court, there is sufficient

24 assurance that the request for judicial assistance is not an attempt to circumvent Argentine discovery

25 rules or to thwart policies of either the United States or the Argentine Republic. See In re Svitavy, 748 F.

26 Supp. 2d at 529 (“[T]he fact that the request was initiated by the Svitavy Court itself, rather than a

27 private litigant, provides sufficient assurance that the request does not attempt to circumvent Czech

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 1 discovery rules or Czech policy.”). Therefore, the third Intel factor weighs in favor of granting the

 2 Argentine Court’s request for judicial assistance.

 3          And with respect to the fourth factor, the Letter of Request seeks information related to a Gmail

 4 account registered to a potential witness in the Argentine proceeding. Google can access and obtain at

 5 least some of the requested basic subscriber information. Therefore, the requests would not be unduly

 6 intrusive or burdensome when narrowed to a request for basic subscriber information related to the

 7 account(s) at issue. See, e.g., id. (holding that providing a DNA by buccal swab is not unduly

 8 burdensome); see also In re Clerici, 481 F.3d at 1332 (holding that it was the witness’s burden to file a

 9 motion to limit discovery and as he had not done so, the Court was not going to address the scope of the
10 request).

11          Additionally, Google has indicated its willingness to provide the requested evidence to the extent
12 it exists once it is served with a subpoena, provides notice to the affected user(s), and any objections by

13 Google or from the affected user(s) are asserted and fully adjudicated in favor of production. See Friend

14 Decl. ¶ 3. Thus, the fourth factor also weighs in favor of granting the request.

15          In summary, consideration of the four discretionary factors set forth by the Supreme Court in
16 Intel favors authorizing judicial assistance to the Argentine Court.

17                                              CONCLUSION
18          Attached to the Declaration of Assistant United States Attorney Molly A. Friend is the proposed

19 subpoena that this office intends to serve (in substantially similar format) on Google should the Court

20 grant the Application pursuant to 28 U.S.C. § 1782. Upon receipt of the production from Google, the

21 production will be sent to the Department of Justice, Civil Division, Office of International Judicial

22 Assistance for transmission to the Argentine Court.

23          WHEREFORE, the United States respectfully requests that the Court issue an Order, in the form

24 attached to the Application, appointing Assistant United States Attorney Molly A. Friend Commissioner

25 for the purpose of issuing a narrowed subpoena to execute the request for international judicial

26 assistance.

27

28      DATED: January 27, 2025                                  Respectfully submitted,

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                                                       /s/ Molly A. Friend
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                                                       MOLLY A. FRIEND
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